Filed 8/26/24 P. v. Vasquez CA2/8
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION EIGHT

 THE PEOPLE,                                                   B315843

           Plaintiff and Respondent,                           (Los Angeles County
                                                               Super. Ct. No. MA077627)
           v.

 MAURICE VASQUEZ,

           Defendant and Appellant.


      APPEAL from a judgment of the Superior Court of
Los Angeles County. Daviann L. Mitchell, Judge. Affirmed in
part and reversed in part.
      Johanna Pirko, under appointment by the Court of Appeal,
for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan S. Pithey, Assistant Attorney
General, Idan Ivri, Theresa A. Patterson, and Gabriel Bradley,
Deputy Attorneys General, for Plaintiff and Respondent.
               _________________________________
                         INTRODUCTION
       Maurice Vasquez appeals from his judgment of conviction
for count 1, conspiracy to commit murder (Pen. Code,1 §§ 187,
subd. (a), 182), and count 2, first degree attempted murder
(§§ 187, subd. (a), 664). The jury also found true each count was
committed to benefit, promote, further, and assist a criminal
street gang (§ 186.22, subd. (b)(1)(C)) and the offenses were
committed within a state prison (§ 1170.1, subd. (c)).
       Vasquez makes various challenges to his conviction,
claiming evidentiary error and prosecutorial misconduct.
However, many of Vasquez’s claims are forfeited as his trial
counsel failed to object on the grounds he raises on appeal.
Nevertheless, we consider the merits of Vasquez’s claims as he
also argues his trial counsel was ineffective for failing to object to
the purported evidentiary errors and instances of prosecutorial
misconduct, as well as cumulative error. In reaching the merits
of his claims, we conclude Vasquez’s arguments are either not
persuasive or constitute harmless error. Accordingly, we also
reject Vasquez’s claims of ineffective assistance of counsel and
cumulative error.
       Additionally, Vasquez argues the gang enhancement must
be reversed because the evidence was insufficient to meet the
new requirements under Assembly Bill No. 333 (2021–2022 Reg.
Sess.) (AB 333). While we agree with Vasquez the enhancement
must be reversed, the prosecution must be given the opportunity
to retry those allegations on remand.




1    All further undesignated statutory references are to the
Penal Code.


                                  2
      For these reasons, we affirm in part and reverse in part the
judgment.
       FACTUAL AND PROCEDURAL BACKGROUND
I.    Prosecution evidence
      A.    The Northern Riders
      Vasquez is the founder and leader of the Northern Riders, a
street gang that primarily operates within the California
Department of Corrections and Rehabilitation’s (CDCR) sensitive
needs yards (SNY’s). “Northern” has since been dropped from the
gang’s name, and they are now known as “Riders.” Vasquez
founded the Riders in an effort to break off from the Nuestra
Familia, a prison gang that controls all Hispanic street gangs in
Northern California. Vasquez no longer wanted to abide by the
Nuestra Familia’s rules and regulations, and “went to war” with
Nuestra Familia in December 2000.
      As a result of this defection, CDCR placed Vasquez and the
Riders in protective custody on CDCR’s SNY’s. While SNY’s are
intended for inmates who request protective custody and are no
longer gang members, SNY gangs, like the Riders, eventually
form on the SNY’s.
      At the time of trial, there were approximately 300 to 400
Riders in custody, and approximately 1,000 to 2,000 Riders in the
streets. The Riders’ primary activities include pimping, burglary,
robbery, extortion, assault, and battery. They have adopted the
Playboy bunny as their symbol, and identify themselves using the
terms “Compa,” “Compadre,” “Riders,” and “Rider.’’ They refer to
the gang as the “Company.”
      The Riders have a system of progressive discipline,
meaning “depending on the infraction the discipline could be
lesser or worse.” For example, “if a member of the . . . Riders



                                3
incurred a drug debt, he could just potential[ly] be talked to by
one of the older members o[f] the gang or senior members of the
gang and be told to repay that debt. If he fails to do so, he can
[be] ordered to pay double. If he fails to do that, he could have
his property sold to pay his debt. If he continues to incur the
debt[,] he could be assaulted by one or more members of the gang.
[¶] And if the infraction was something . . . completely worse than
that—for instance, a disrespect towards gang leadership—you
can be potentially assaulted with weapons.”
       Vasquez is known as the “Playboy President,” “Mac,” and
“Bad Ass Snoop.” If Riders on a particular facility cannot come to
a decision between themselves with respect to important gang-
related businesses, they will send a message to Vasquez, who has
“the ultimate say” in that decision.
       B.    Alexander Diaz
       Alexander “Scrappy” Diaz is a former Rider who had a
falling out with Vasquez after he led an unauthorized attack on a
rival gang without Vasquez’s consent. Diaz then formed the
Nuestra Cosas, a splinter faction made up of former Riders.
The Nuestra Cosas have since become one of the Riders’ primary
rivals.
       C.    Investigator Luis Chavez
       Investigator Luis Chavez testified as the prosecution’s
primary gang expert. He investigated the Riders for five years
and interviewed numerous active and inactive members of the
gang.
       Chavez explained the Riders’ system of progressive
discipline. He explained how a gang benefits from using a violent
disciplinary system because it conveys to other inmates and
members that anyone who “cross[es] this gang” will face violent



                                4
repercussions. He opined that forming a splinter faction was one
of the most serious violations of the gang’s rules, and would
warrant the most serious punishment from the gang, such as an
assault with weapons or murder. Chavez further opined that
murder would be the only way to conclusively deal with a splinter
faction. Chavez explained that merely assaulting a member of a
splinter faction would result in that individual being moved to
another facility where he could potentially continue to recruit
members of the original gang. In other words, “the only way to
completely remove them . . . would be to kill them.”
        Chavez testified regarding a document found in Vasquez’s
cell, titled the “Compadre Concepts and Objectives” (CCO’s).
Chavez explained that the CCO’s are considered the Riders’
bylaws. The CCO’s state that if a member’s “contrary actions
persist, a vote will be made [by] . . . committee to serve this
individual with an eviction notice out of [the Rider] movement by
whatever means the committee deems necessary.” Chavez
opined this meant Riders may expel a member by any means
necessary, including murder.
        D.    Terry Gonzales, Jr.
        Terry Gonzales, Jr., was a former Rider and testified as a
gang expert for the prosecution. Gonzales became a Rider in
2003, and trained other members about the gang’s ideology.
He also taught members how to attack other inmates, including
how to kill someone quickly by targeting the vital areas of the
body, such as the heart, jugular, and carotid artery.
        Gonzales knew Diaz started the Nuestra Cosas after a
falling out with Vasquez related to an unauthorized attack Diaz
carried out against rival gang members. In 2014, Diaz’s name
appeared on lists published by Vasquez that contained the names



                                5
of the Riders’ enemies. Gonzales admitted he twice targeted Diaz
for murder.
       Gonzales left the Riders in 2017. In 2020, two inmates
attacked Gonzales, stabbing him 25 times on nearly every part of
his body. Gonzales suspected Vasquez ordered the attack
because one of the attackers yelled out, “ ‘Riders, Mother Fucker.
Riders, Mother Fucker.’ ” Gonzales later heard the two inmates
discussing how they carried out the attack on behalf of Vasquez.
Approximately a week or two after the attack, Gonzales and
Vasquez were housed in nearby cells. Vasquez told Gonzales that
he wanted Gonzales killed because Gonzales was “disloyal in [his]
failure to kill Alexander Diaz,” and because Gonzales was a
“snitch.”
       E.    Documentary evidence
       In August 2018, an investigator found various documents
related to the Riders in Vasquez’s cell.
             1.     The Missive
       One document was titled, “A Missive Concerning Current
[E]xisting Issues On The Compounds,” and signed “[L]oyally
Committed To The Prosperity Of The Rider Movement, ‘The
Playboy President.’ ” It contained the following excerpts:
       “There will never be a divide within the RIDER movement.
We have a zero tolerance policy towards actions concerning
subsets, subgroups or offsets of our movement. Recently in
K.S.V.P. there was some nonsense transpiring where compas
were identifying themselves as FAS, going as far as tattooing it
on them. I sent a personal emphasis to them to cease such
controversial behavior and provide one warning for them to cover
any tattoos of that crap or it would be fucken cut off of them.
The compas delivering the warning were committed to executing



                                6
extreme violence upon any individual who chose to disregard the
compadre[’]s commands to terminate such contradictory
behavior. The compas who were involved in the shenanigans all
immediately obliged. We shall never condone, tolerate, accept,
nor support contrary behavior.”
       “If any entity puts us in a position where we feel
challenged, we declare war, plan, prepare and execute the attack
wherein we will slaughter our target. That’s the Rider way of
warfare.”
              2.    The Epistle
       Another document dated December 31, 2016, was titled
“An Epistle Pertaining To The Prosperity of The R.I.D.E.R.
Movement.” The document was signed by Vasquez as “ ‘The
Playboy President.’ ” It contained the following excerpts:
       “The infestation of imposters running around like a bunch
of lowlife, lawless hooligans were practicing and promoting false
propaganda. They were convincing the imposters to believe—to
believe we’re the Northern Riders. Yet, [were] just some made-up
gibberish that was falsely fabricated and filtered by [the] lawless
little homosexual snitch named Alexander Diaz. . . . [¶] . . . [¶] —
who also goes by the several aliases such as Scrappy Diaz, Tiny,
Shorty, and Midget. The little jailhouse schmuck first came to
CDC in 2011 from CYA and was in Tehachapi in IYP . . . until he
turned 18 and was sent to CDC’s first SNY in Mule Creek in
2001. [¶] He paroled in 2003, and shortly after was charged with
murder of a 15-year-old kid wherein he testified against all his
co-defendants from Varrio Meadow Fair in San Jose. [¶] The little
faggot has never stepped foot on the mainline and has absolutely
nothing to do with founding the Rider movement. What he is
responsible for, however, is promoting contradictory behavior



                                 7
under the shield . . . [¶] . . . [¶] —of the glorious Rider movement.
He is responsible for all the contrary conduct that was occurring
in the PC yards from 2001–2003. While the certified compadres
were on the mainlines of [Pleasant Valley State Prison] . . .
a yard, Susanville-Lassen yard, Corcoran 3B, and HDSP . . .
D yard. [¶] . . . [¶] Guarding and protecting our territory at the
time.”
       “Now mind you, the reason for CDCR’s attempt to validate
the Rider movement as a prison gang was not . . . as a result of
what [Vasquez] and his playboys were doing in 2004, but due to
the secret code word . . . . [¶] . . . [¶] Malicious malarkey that
faggot Scrappy and her homosexual homegirls were doing on the
PC yards. Safe out of . . . harm’s way. The first and only time
[Vasquez] ever encountered this little prison punk was in Ad Seg
law library wherein he instructed . . . [Diaz] to sign off his SNY
chrono so he could transfer to High Desert.”
       “Also, there is no such thing as Team Snoop, Team
S[c]rappy. That’s some childish nonsense that little faggot snitch
[Sc]rappy made up cause he thinks it sounds cute. There is
nothing cute nor funny about THE RIDER MOVEMENT!
Anyone who arrives to any Playboy Compound via S.V.S.P. D-
Yard claiming to be a Compa yet did not leave that yard by way
of acts of loyalty, must be dealt with in accordance with RIDER
Protocol immediately. There are no exceptions, no explanations,
no benefit of the doubt for any of those lames. They all know
they are lawless fugitives with warrants for their arrest. There
have been executions of justice at extreme capacity performed by
righteous RIDERS who have landed there, thus those coward
infiltrators know that they are not being victimized for no
apparent reason.”



                                  8
       “That little queer Scrappy went to Tehachapi where he
infiltrated as a buster and got his dumb-ass validated as a
structure associate which is why he had to debrief in the THU in
KVSP. [¶] . . . [¶] Unbeknownst to [Vasquez], he was never going
to finally pulverize this little pussy as he has been eagerly
anticipating due to Scrappy having his 812. [¶] . . . [¶] [Vasquez]
was made aware of this while in KVSP Ad Seg for demolishing
some pcs on D yard with some of his compadres. The reason I’m
even elaborating on this . . . is due it to being essentially to
defining a . . . line of clarification by emphasizing that anyone
who has been . . . deceived to believe this little rat was in any way
whatsoever involved in any of what transpired during the
tremendous tenacity it took to conquer and surmount the
arduous obstacles that were constantly encountered during the
introduction of the Rider movement to the prison system.
You have your calculation profoundly miscalculated.”
              3.     The “hit list”
       A list containing names of individuals and their CDCR
identification numbers was also found in Vasquez’s cell in August
2018. Next to each name there was a notation “NC,” which
Chavez opined was short for Nuestra Cosas. As such, Chavez
opined that the document was a “a list of inmates who are
targeted for assault or murder at the direction of the . . . Rider
leadership.” Gonzales recognized many of the names on the list
and agreed with Chavez’s testimony that the list was a Riders’
“hit list.” He added that the list was formatted in a manner
approved by Vasquez.
       F.     The conspiracy to murder Diaz
       On January 17, 2019, Vasquez and Diaz were housed in
adjacent cells in the Lancaster prison.



                                 9
       On April 2, 2019, Diaz was moved to Facility 3B of
California State Prison, Corcoran (Corcoran). Christopher
“Blanco” Potter, a Rider with a close “father-son” relationship
with Vasquez was also housed at Corcoran at the time.
       On April 10, 2019, Potter called Michelle Bravo, who was
Vasquez’s “secretary.” In gang culture, a secretary is someone
who aids gang members communicate with each other when they
are unable to communicate directly. The conversation proceeded
as follows:
       “Potter: Alright. I’m good. Have you talked to Maurice?
       “Bravo: I’m waiting on his call . . . it should be kinda [sic]
between now and the week.
       “Potter: Ok. And you got everything that I told you last
time down?
       “Bravo: Yeah. Yeah I did. S[o] um, do you have any word
on [Diaz]?
       “Potter: He’s right here.
       “Bravo: Okay, so what’s goin [sic] on with that?
       “Potter: That’s what I need to know. Ok. Listen, I got a
one-time and that’s how I got your number so all that got
squashed. It’s all good for him from what I know. That’s why
I’ve been waiting. You know what I’m saying? [¶] . . . [¶] So,
whoever, so, but it’s, that’s all squashed. It’s a stand down. And
uh, he’s right here. He’s on orientation. He came with a couple
things for me. That’s, you know what I’m saying?
       “Bravo: Yeah. So it’s proved then?
       “Potter: Huh?
       “Bravo: It’s been proven? It’s been proven then that he’s
....




                                 10
       “Potter: Absolutely. I know, I know, I know his writing.
Right? Maurice? I know his writing. And it’s his. It even had
something in there for me. Had this number. Every other, every
other thing that I had. Yeah, and it’s . . . . And, a lot of other
people were like ‘Ok’ but I had to tell them that’s it. That he did
that. That’s it. There’s no . . . you can’t, you can’t, there’s
nothing else you can do about it, you know what I’m saying?
       “Bravo: Ok. So is everybody getting on board with that?
Because I spoke to . . . .
       “Potter: It doesn’t matter. That doesn’t matter though.
That doesn’t matter. He did that.
       “Bravo: No, I mean, do they know? Do they know?
Because he’s asking if they know?
       “Potter: Right here? Right here?
       “Bravo: Yeah.
       “Potter: Everybody, a couple of people at first like ehhh . . .
but everybody’s on board, and uh, it’s alright. Everything’s good.
You know what I’m saying? There isn’t really, there isn’t really
nothing that nobody can say. Because when he said he had
something for . . . when he said . . . from him. I said let me see it?
And I already knew the writing. And it’s like . . . and then it had
something for me in there. And that’s . . . you know what I’m
saying?”
       Chavez interpreted the recorded call. He opined Potter was
telling Bravo that Diaz had been “no good” at some point, but was
now okay to be on the Corcoran SNY with other Riders because
Diaz possessed an inmate-authored note, which identified him to
Potter as being in good standing with the Riders. In a recorded
interview, Vasquez explained that, when a Rider is “no good,” the




                                 11
gang will issue a “warrant for his arrest,” which meant that
individual would be beaten “or worse.”
       On April 16, 2019, Joshua “Primo” Simmons sent Bravo a
text message stating, “Good afternoon. This is Primo. At your
earliest convenience, can get at me. Thank you.” At the time,
Simmons was a member of the Riders and was on parole.
       On April 17, 2019, Simmons sent Bravo a text message
stating, “Hey. I just talked to Charlie. There’s no way Scrappy is
good. Look, don’t give any input to Blanco until you talk to Mac.
Something is not right.” Bravo replied, “Okay. I understand.
I think I know what’s going on. Everything will work out fine.”
       On May 8, 2019, Vasquez called Bravo from Lancaster
State Prison. During the call, Bravo informed Vasquez she had
spoken to Simmons and Potter. She told Vasquez that Simmons
had told her he was “really upset about saying like Alex is good.”
Bravo also said she had spoken to Potter, who confirmed he had
received a note from Diaz. Bravo told Vasquez, “Everybody is
kinda upset because I’m like [Diaz] is good, [Diaz] is saying he is
good. [¶] . . . [¶] And so is [Potter]. [Potter] is saying yeah, he
said I’m here on the yard with him right now, he’s with me, it’s
good.” Vasquez responded, “No, not at all. [¶] . . . [¶] Tell them
that they need to understand to disregard that, disregard that.
Tell them if it’s not coming from me directly, disregard that. Tell
them what the fuck are they thinking?”
       Vasquez then asked Bravo to call Potter’s secretary, Abigail
“Chula” Valencia while he remained on the phone. Vasquez told
Valencia to tell Potter that Diaz would never be “ok,” that Diaz
had a “stay away order,” and that Diaz could not be on the same
property as the other Riders at Corcoran.




                                12
        Vasquez then asked Bravo to call Simmons, who was added
to the call. Vasquez relayed a similar message to Simmons that
Diaz was not “allowed to be stepping on the . . . property . . . .”
Simmons replied, “I already know that ok but I was told
something different ok.” The following exchange then took place.
        “Vasquez: I know but listen to me.
        “Simmons: Wait a second.
        “Vasquez: Ok listen never, never, never, never. Listen you
know Blanco’s dad right?
        “Simmons: Right.
        “Vasquez: Blanco’s pops, you know Blanco’s pops? Blanco’s
pops?
        “Simmons: Yeah.
        “Vasquez: Ok Blanco’s pops said to disregard everything
that that [h]o is talking about. That bitch can’t be over there
working at the club bruh. Aren’t mother fuckers smarter than
that? That bitch can’t go over there with no recommendation to
work at the club nigga. That’s all game that was all game
playboy. Mother fuckers are out of their minds. Don’t they
realize that that was all game nigga? You got to be kidding me.
That bitch can’t work there. Every nigga, listen to me that club
will, listen to me this is very important that club will lose their
license if that bitch is anywhere on that property bruh.
        “Simmons: I’m already knowing. I’m already knowing. I’ll
take care of it.
        “Vasquez: You know what’s crazy?
        “Simmons: I’ll make sure it’s taken care of by the end of.
        “Vasquez: Ok look it.
        “Bravo: It’ll be taken care of.




                                13
       “Vasquez: In the thing, in that book listen to me nigga in
that book it says that her circumstances are still the same. Her
circumstances have not changed nigga. Mother fuckers got to get
their shit together, niggas are out of their fuckin mind playboy,
[they’re] out of their mind.”
       On May 9, 2019, there was a three-way phone call between
Vasquez, Bravo, and Simmons. During the call Vasquez
recognized Simmons as a certified Rider and told him, “I know
exactly who you are Playboy. You certified. You’re reputable.
These niggas had to step up their fucking game up, man. What
are they thinking? What are they thinking? They’re allowing
that bitch to work at the club on the same property. Them niggas
going to all get their license revoked. Are they serious? Are they
serious?” Bravo then said, “The son was shining really bright
with a note.”
       That same day, Potter called Valencia. Valencia told Potter
she had spoken to Vasquez, who said that Diaz could not “be on
the same property” as Potter.
       On May 9, 2019, Bravo sent a text message to Simmons
stating: “This book is a real thriller, but it looks like what I
predicted about the next chapter was right on. That girl is in the
perfect place to get a hug and finally be at peace.” Simmons
replied, “Off top, the question is does someone have the balls to
give her a hug?” Bravo then wrote, “We shall see.” Simmons
replied, “Yes, ma’am.”
       Chavez opined Bravo and Simmons were speaking in code,
and that “finally be at peace” meant someone who was dead.
       G.    The attack on Diaz
       On the morning of May 10, 2019, Correctional Officer Jose
Garcia, Jr., witnessed two inmates fighting on the yard at



                               14
Corcoran. He radioed and advised officers “to put the yard down
due to the fight.” The two combatants complied with the orders
and got down on the ground.
       As Officer Garcia approached the two combatants, he saw
Diaz fighting with Guillermo Cordero, a Rider. He saw the men
strike each other with closed fists, but could not see whether
either man had a weapon. Another Rider, Andres Cordova, ran
toward Cordero and Diaz and began striking Diaz with clenched
fists. Then, another Rider, Michael Kons, ran toward the fight
and struck Diaz. Officer Garcia broke up the fight by throwing
multiple pepper spray grenades. Diaz, Cordero, Cordova, and
Kons were handcuffed after assuming the prone position.
       Officer Anthony Arisco responded to the fight. He observed
Diaz was covered in blood and receiving medical attention.
Cordova, Kons, and Cordero were prone on the ground and
restrained in handcuffs. Officer Arisco observed a wooden knife
beneath Cordova. No other weapons were found.
       A nurse treated each of the men for injuries. Diaz suffered
four puncture wounds on his back, his shoulder blades, and at the
base of his skull. Cordero suffered three puncture wounds at the
top of his spine, below one shoulder blade, and above his
waistline. Kons suffered a puncture wound on his left temple.
Cordova suffered wounds to his neck, chin, and clavicle. Cordova
and Diaz were treated at the hospital in Corcoran.
       H.    Postattack communications
       On June 3, 2019, inmate Michael Maniscalco called
Valencia. Maniscalco told Valencia he was friends with Cordero
and Potter, who were “in the hole” because of Diaz. He told
Valencia, “So I don’t know if you know who the fuck that is but
uh but their um they, he told me to tell you to put some fucking



                               15
money on his books, put some money on the phone, and then uh
he told me to tell you that that job that you asked him or
something is done. You asked him and [Potter] I guess.”
Maniscalco also stated, “I mean like they fucking got at somebody
and uh fucked him off pretty good so [they’re] going to be back
here, not [Potter] but [Cordero], he’s going to be back here a
while.”
        On June 8, 2019, inmate Decko Bojorquez called Bravo.
Bojorquez introduced himself as Potter’s cell mate and Vasquez’s
“little homie.” Bojorquez explained that Potter “went to the hole”
and that Potter wanted to relay to Vasquez the following
message. “That hello it’s his son. I can’t call myself due to loss of
phone, but I got a very important message for him, and others
who are part of the Company. . . . He got the message from
Chula. Everything went absolutely perfect. Alexis got a ride out
of here in a helicopter. [¶] . . . [¶] Ok, tell him I love him, and I’ll
always make him proud. And he’ll call when he gets out [of] the
hole.”
        Chavez opined that Bojorquez’s reference to a “helicopter
ride” out of Corcoran meant the victim was transported off the
facility via helicopter due to suffering life threatening injuries.
        On June 8, 2019, Bojorquez called Valencia. Bojorquez said
he had just spoken to Bravo and had let her know “what
happened to that fool Alexis and shit. That fool had a helicopter
ride out of here and shit.”
        On June 11, 2019, Bravo sent a text message, stating,
“Alexa has been moved with extreme V.” Chavez opined that
“extreme V” meant extreme violence.
        On June 26, 2019, Vasquez called Bravo. The following
exchange took place:



                                  16
       “[Vasquez]: Ok so look it, where’s where’s, did old girl, does
old girl still work at the club or no?
       “[Bravo]: No, ok so for him supposedly having a contact or
whatever, in the movie nothing happened in that scene. It wasn’t
until Alice contacted somebody to get it going and then literally
the next day, she was gone.
       “[Vasquez]: Oh ok. On her own?
       “[Bravo]: Um no, no.
       “[Vasquez]: Ok, ok.
       “[Bravo]: Um the son, the son told Alice like hey I’m
always, just tell my dad I’m always going to make him proud, and
it was with uh you know extreme, extreme V.
       “[Vasquez]: Ok absolutely, absolutely.
       “[Bravo]: Yeah, Yeah.
       “[Vasquez]: That’s awesome, ok that’s awesome.”
       On August 17, 2019, Potter called Valencia and asked if she
spoke with Vasquez. When Valencia indicated she had not,
Potter said, “[J]ust let him know that guy is taken care of. That
old boy got flighted out in [a] helicopter ok.”
II.    Defense evidence
       Vasquez’s alleged coconspirator Kons testified for the
defense. Kons joined the Riders in 2015 and was housed at
Corcoran at the time Diaz was attacked.
       Kons explained that he was Vasquez’s codefendant and
awaiting trial.
       Kons testified that he did not intend to kill Diaz or do
anything else to Diaz when he arrived at Corcoran. On the date
of the attack, Kons saw Cordero fighting with Diaz from across
the yard. He ran towards the fight to assist Cordero, who
appeared to be losing and had blood on his shirt. He did not see



                                 17
any weapons, however, it looked like Diaz was stabbing Cordero.
Kons joined the fight to save Cordero’s life and punched Diaz,
dropping Diaz to the ground. Kons hit Diaz as Diaz fell to the
ground and then kicked him in the leg. Kons backed away from
Diaz and laid on the ground after correctional officers threw
pepper spray grenades to break up the fight. After the fight,
Kons realized that Diaz stabbed him three times.
      He explained that a “Playboy Committee” is a meeting
where Riders discuss business. Each member has a right to vote
at the meeting. He said the Riders never discussed Diaz at a
meeting. However, he testified that the Riders do not like
splinter groups, and an inmate who tattoos himself with a
splinter faction’s tattoo could be met with extreme violence.
III. Jury verdict and sentencing
      A jury convicted Vasquez of both counts and found the gang
and prison allegations true. In a bifurcated proceeding, the trial
court found the prior conviction allegations true.
      The trial court sentenced Vasquez to a total term of
15 years plus 50 years to life. On count 1, the trial court
sentenced Vasquez to 15 years plus 50 years to life, imposing
25 years to life on the conviction, doubled for a prior strike, plus
10 years for the gang enhancement and an additional 5 years for
a prior conviction. On count 2, the trial court sentenced Vasquez
to 30 years to life, which was stayed.
      Vasquez appealed.
                            DISCUSSION
I.    Evidentiary objections
      Vasquez raises numerous challenges to the testimony
offered by Chavez and Gonzales. While most of these challenges
are forfeited as Vasquez’s trial counsel did not object below, we



                                18
address the merits of each claim as Vasquez has also asserted an
ineffective assistance of counsel claim based on the failure to
object. We address each challenge in turn.
       A.    Chavez
             1.    Chavez’s testimony about progressive
                   gang discipline and the need to kill a
                   founder of a splinter faction
       Vasquez argues Chavez’s testimony about the Riders’
system of progressive discipline should have been excluded under
Evidence Code section 352 as its probative value was
substantially outweighed by undue prejudice.
       We review a trial court’s rulings under Evidence Code
sections 352 for abuse of discretion. (People v. Parker (2022)
13 Cal.5th 1, 39 (Parker).)
       Vasquez’s trial counsel did not object on Evidence Code
section 352 grounds. Rather, he objected on hearsay grounds and
argued that the hypothetical posed by the prosecutor too closely
resembled the facts of this case. Therefore, his Evidence Code
section 352 objection is forfeited. (People v. Boyette (2002)
29 Cal.4th 381, 424 (Boyette); Evid. Code, § 353, subd. (a).)
       However, even if the argument was preserved, the
testimony was admissible under Evidence Code section 352.
Chavez’s testimony was relevant to the prosecution’s theory of
motive and intent, as it supported the inference that Vasquez
targeted Diaz for murder and not merely assault. Chavez
explained that forming a splinter faction was the most serious
violation of the gang’s rules, and therefore would warrant the
most serious punishment the gang could impose, murder.
       Nor was the evidence’s probative value substantially
outweighed by undue prejudice. Vasquez argues the evidence



                               19
was prejudicial as it conveyed the message that the Riders are an
extremely violent gang, whose members routinely resort to
murder. This was not Chavez’s testimony. Rather, Chavez
explained the Riders use a system of progressive discipline,
reserving assault with weapons and murder only for the most
serious offenses, such as forming a splinter faction that
challenged the gang’s leadership. Thus, the relevance of his
testimony was not outweighed by any purported prejudice.
       Relatedly, Vasquez argues the trial court should have
excluded Chavez’s testimony about internal gang discipline as
speculative, specifically, his opinion the formation of a splinter
faction threatens the gang as the leader of the splinter faction
could potentially recruit the gang’s members. Vasquez argues
this testimony was speculative because there was no evidence
Diaz was recruiting from the Riders.
       Again, Vasquez’s trial counsel did not object on these
grounds. Therefore, the argument is forfeited. (Boyette, supra,
29 Cal.4th at p. 424; Evid. Code, § 353, subd. (a).)
       However, even if the objection was preserved, the
testimony was not speculative. Chavez’s opinion was based on
his experience and training in working with prison gangs, and his
knowledge of the Riders. He was therefore qualified to offer an
opinion on the potential consequences of forming a splinter
faction and how it could weaken the gang. Further, there was
evidence that Diaz formed the Nuestra Cosas by joining with
other Riders. There was also evidence that Diaz created a split
within the Riders and Vasquez was concerned Diaz could
undermine the Riders. For example, in the Epistle, Vasquez
stated: “The infestation of imposters running around like a
bunch of lowlife, lawless hooligans were practicing and promoting



                               20
false propaganda. They were convincing the imposters to
believe—to believe we’re the Northern Riders. Yet, [were] just
some made-up gibberish that was falsely fabricated and filtered
by [the] lawless little homosexual snitch named Alexander Diaz.”
The Epistle further states: “[T]here is no such thing as Team
Snoop, Team Scrappy. That’s some childish nonsense that little
faggot snitch Scrappy made up cause he thinks it’s cute. There is
nothing cute nor funny about THE RIDER MOVEMENT!”
Chavez’s experience and training and the evidence presented
shows his testimony was not speculative.
       Vasquez also argues that Chavez’s opinion was not based
on the evidence since the Riders were confined to the SNY at
Corcoran; therefore, once Diaz was removed from the SNY, he
could no longer recruit members away from the Riders.
Vasquez’s argument is not well taken. The record shows that
there were hundreds of Riders, who were housed in multiple
facilities within the CDCR system, and that there were multiple
SNY’s.
              2.    Chavez’s opinion on the phone call
                    between Bravo and Vasquez
       Vasquez argues the trial court should have excluded
Chavez’s interpretation of the June 26, 2019 phone call between
Vasquez and Bravo as unreliable or based on insupportable
reasoning under People v. Stamps (2016) 3 Cal.App.5th 988(Stamps).
       We review the admission of expert testimony for abuse of
discretion. (People v. Lindberg (2008) 45 Cal.4th 1, 45
(Lindberg).)




                               21
        Vasquez did not object to Chavez’s testimony on the
grounds he argues on appeal; therefore, his argument is forfeited.
(Boyette, supra, 29 Cal.4th at p. 424; Evid. Code, § 353, subd. (a).)
        However, even if we were to consider the argument
preserved, we disagree with Vasquez. In Stamps, the defendant
was convicted of possession of drugs in pill form. At trial, the
criminalist opined that the pills contained controlled substances
by visually comparing their appearance to pills on the Internet.
(Stamps, supra, 3 Cal.App.5th at p. 991.) Stamps explained trial
courts have broad discretion to determine whether particular
facts to which an expert was prepared to testify are sufficiently
“ ‘reliable,’ ” and must act as gatekeepers in excluding “expert
testimony when necessary to prevent unreliable evidence and
insupportable reasoning from coming before the jury.” (Id. at
p. 994.) The Stamps court concluded that, by admitting the
criminalist’s testimony that the pills found on the Internet
“ ‘match[ed]’ the pill found in Stamp’s possession, the [trial] court
allowed [the expert] to place case-specific non-expert opinion
before the jury, with the near certainty that the jury would rely
on the underlying hearsay as direct proof of the chemical
composition of the pills.” (Id. at p. 992, fn. 2.)
        We find Stamps inapposite. Chavez did not rely on any
hearsay facts in interpreting the call between Vasquez and
Bravo. Chavez explained, based on his background, training and
experience as a gang investigator, and his investigation of the
Riders in particular, that Bravo and Vasquez were speaking in
code. He based his interpretation on the evidence presented,
including the sequence of events before and after the attack on
Diaz. Nor was Chavez’s opinion based on insupportable
reasoning. Indeed, the content of the call itself only makes sense



                                 22
if Bravo and Vasquez were speaking in some kind of code.
Therefore, Chavez’s opinion was reasoned and reliable.
             3.    Chavez’s testimony characterizing the
                   attack as an “attempted murder”
       Vasquez argues the trial court should have prevented
Chavez from describing the attack on Diaz as an “attempted
murder” because it presented a legal conclusion and supplanted
the role of the jury. We disagree.
       As stated above, we review an expert’s opinion for abuse of
discretion. (Lindberg, supra, 45 Cal.4th at p. 45.)
       We find no abuse of discretion here. As the investigating
officer, Chavez’s references to the attempted murder were in
reference to the crime he was tasked with investigating and the
charges in this case. The trial court correctly noted Chavez’s
characterization of the crime he was investigating had no bearing
on whether it was true or not. Nor was Chavez’s testimony likely
to mislead the jury into believing Vasquez’s conviction for
attempted murder was a foregone conclusion, eliminating the
need for deliberation or relieving the prosecution of its burden to
prove each element of the offense beyond a reasonable doubt.
Indeed, the parties’ closing arguments demonstrate that whether
Vasquez acted with an intent to kill Diaz rather than just assault
him was vigorously contested based on the evidence.
             4.    Chavez’s interpretation of Bravo’s
                   statement that Diaz could “finally be at
                   peace”
       Vasquez argues the trial court should have excluded
Chavez’s testimony interpreting a text message between Bravo
and Simmons where Bravo states: “This book is a real thriller,
but it looks like what I predicted about the next chapter was



                                23
right on. That girl is in the perfect place to get a hug and finally
be at peace.” Chavez opined the phrase “finally be at peace” was
code for “someone who is dead or died.” Vasquez asserts that
there was nothing in this message that related in any way to
Chavez’s expertise as a gang investigator.
       Again, Vasquez’s counsel did not object to this testimony on
the grounds he argues here. Therefore, the argument is forfeited.
(Boyette, supra, 29 Cal.4th at p. 424; Evid. Code, § 353, subd. (a).)
       However, even if we were to consider the objection
preserved, there was no abuse of discretion. (Lindberg, supra,45 Cal.4th at p. 45.) Vasquez cites People v. Hernandez (1977)
70 Cal.App.3d 271 (Hernandez) as support for his argument that
Chavez’s testimony was unrelated to his expertise.
In Hernandez, the court found an abuse of discretion in admitting
a police officer’s opinion that defendant’s shaking his head from
side to side meant he had been asked if he had any more
narcotics and had responded that he did not. (Id. at pp. 274–
275.) The Hernandez court held the officer’s expertise did not add
any probative value to the evidence, which the jury could
interpret for itself. (Id. at p. 281.)
       Hernandez is distinguishable. While the phrase “finally be
at peace” could be understood by a layperson as referring to
someone who has died, the phrase appeared in a text message
where the participants were speaking in code. The full message
read: “This book is a real thriller, but it looks like what I
predicted about the next chapter was right on. That girl is in the
perfect place to get a hug and finally be at peace.” Chavez’s
testimony assisted the jury in interpreting the coded message
and was based on his background, training, and experience as a
gang investigator, which included interpreting messages between



                                 24
gang members and their facilitators. Thus, Chavez’s
interpretation related to his expertise as a gang investigator.
       B.    Terry Gonzales
             1.    Whether Gonzales’s testimony regarding
                   the attack on Diaz was speculative
       Vasquez argues Gonzales’s testimony regarding the attack
on Diaz in 2019 was speculative since Gonzales left the Riders in
2017. Vasquez challenges Gonzales’s testimony that, “I’m
testifying today because it’s the right thing to do. My life was
attempted to be taken from me, and it’s my belief that
Mr. Vasquez is out of control . . . . [¶] . . . [¶] with his attempt at
murder and mayhem and extortion. [¶] So I feel that I have
evidence and information as a fellow member—a ranking
member of the gang and a close partner of his to stop that
mayhem, attempted murder, and assault.” Vasquez also
challenges Gonzales’s testimony that Vasquez had put out a “kill
order” for Diaz that was still in effect in 2019.
       Vasquez did not object on the grounds that Gonzales’s
testimony was speculative; therefore, his argument is forfeited.
(Boyette, supra, 29 Cal.4th at p. 424; Evid. Code, § 353, subd. (a).)
       However, even if we were to consider the objection
preserved, Gonzales’s testimony was not speculative. Gonzales
knew why he was testifying and the trial court explained to the
jury that Gonzales’s testimony could be considered for the
purpose of showing Gonzales’s state of mind. Second, with
respect to Gonzales’s knowledge of the “kill order,” there was
evidence that Vasquez ordered Gonzales to kill Diaz while
Gonzales was still a member of the Riders. Whether the kill
order was still in place after Gonzales left the gang went to the
weight of the testimony, as Gonzales indicated that he still



                                  25
communicated with Vasquez even after he left the gang.
Therefore, Gonzales’s testimony was not speculative.
             2.     Gonzales’s testimony regarding how he
                    was the victim of an attack ordered by
                    Vasquez
       Vasquez argues the trial court should have excluded
Gonzales’s testimony that he was stabbed 25 times by two
assailants on Vasquez’s orders under Evidence Code section 352.
We disagree.
       As stated above, we review the trial court’s rulings under
Evidence Code sections 352 for abuse of discretion. (Parker,
supra, 13 Cal.5th at p. 39.)
       We find no abuse of discretion as the testimony’s probative
value was not outweighed by undue prejudice. As the trial court
correctly recognized, Gonzales’s testimony was relevant to his
credibility and reasons for testifying. “Evidence that a witness is
afraid to testify or fears retaliation for testifying is relevant to
the credibility of that witness and is therefore admissible.”
(People v. Burgener (2003) 29 Cal.4th 833, 869.) The fact that he
had been attacked by the Riders was also relevant to his
motivation to testify against Vasquez. (See People v. Olguin
(1994) 31 Cal.App.4th 1355, 1368–1369.) “A witness who testifies
despite fear of recrimination of any kind by anyone is more
credible because of his or her personal stake in the testimony.”
(Ibid.)
       Further, the evidence was relevant to how the gang worked
and its system of progressive discipline, specifically, to show how
a serious violation of the gang’s rules would result in violent
retribution, including murder. Gonzales testified that Vasquez
told him he was attacked because he was disloyal and was a



                                26
snitch. This evidence was highly relevant to prove Vasquez’s
intent to kill Diaz under Evidence Code 1101, subdivision (b),
which permits evidence of prior wrongdoing if relevant to prove
motive or intent. Additionally, some of the details of the attack,
including Gonzales’s injuries, were relevant to show that
Gonzales’s transgressions were serious enough to warrant a
violent assault with weapons. Thus, although the evidence was
prejudicial, it was relevant and highly probative of Vasquez’s
intent, which was a central issue at trial. (People v. Zapien
(1993) 4 Cal.4th 929, 958.)
             3.    Evidence that Gonzales tried to stab Diaz
                   while acting under Vasquez’s orders
       Vasquez argues the trial court should have excluded
Gonzales’s testimony that Vasquez ordered him to kill Diaz via
kites and letters. Specifically, Vasquez argues the trial court
abused its discretion in purportedly issuing contradictory rulings
that precluded such testimony, but then allowed Gonzales to
testify about two purported attempts on Diaz’s life on Vasquez’s
orders. We find no abuse of discretion.
       When Gonzales’s testimony regarding the orders to kill
Diaz was first discussed, defense counsel objected on grounds of
relevance and prejudice. The trial court noted that it was
admissible under Evidence Code section 1101, subdivision (b).
The prosecutor stated the evidence was not being offered under
Evidence Code section 1101, subdivision (b), but to show how the
gang conducts its business. When the testimony was discussed
again, the trial court again stated the evidence was admissible
under Evidence Code section 1101, subdivision (b). The trial
court later confirmed that Vasquez’s motion to exclude Gonzales’s
testimony had been denied.



                               27
       We note to the extent the trial court’s rulings were
ambiguous, Vasquez’s trial counsel was obligated to ask for
clarification after the trial court ruled Gonzales’s testimony was
admissible. (People v. Ramirez (2006) 39 Cal.4th 398, 472–473.)
Further, as the trial court correctly ruled, the evidence was
relevant and admissible under Evidence Code section 1101,
subdivision (b) to show Vasquez’s motive and intent. Evidence
that Vasquez had previously ordered Diaz’s murder was highly
relevant to prove that Vasquez wanted Diaz killed as opposed to
just assaulted.
       C.     Chavez’s and Gonzales’s testimonies regarding
              the “hit list”
       Vasquez argues the trial court erred when it allowed
Chavez and Gonzales to testify regarding the Riders “hit list.”
Specifically, Vasquez argues the admission of the list violated the
trial court’s order granting his motion to exclude any evidence
that Vasquez conspired to murder any other person. Further,
Vasquez argues Chavez and Gonzales improperly relied on case-
specific hearsay in violation of People v. Sanchez (2016)
63 Cal.4th 665 (Sanchez).
       Before opening statements, Vasquez requested that the
prosecutor not refer to the list of names found in Vasquez’s cell as
a “hit list” before establishing a proper foundation. The trial
court granted that request. Later, when the trial court was
discussing juror exhibit binders, it reiterated its ruling that the
prosecutor could not call the list of names a “hit list” until laying
a foundation.
       During trial, Chavez was asked about the list. He testified
that the list contained the names of Nuestra Cosas members,
including their monikers, inmate identification numbers, street



                                 28
gang membership, and the area of California where each member
was from. Chavez then opined the list contained the names of
inmates who had been targeted for assault or murder at the
direction of the Riders’ leadership. Chavez further testified that
generally gangs will maintain lists of rival gang members in
order to pass that information to other members of the gang.
       When Gonzales was asked about the list, he testified that it
was a Riders “hit list” and that it was formatted in a manner
approved by Vasquez. Gonzales explained that sometimes
similar lists will be labeled a “hit list” although the one presented
was not labeled as such.
       Again, Vasquez did not object that the testimony regarding
the list violated the trial court’s ruling excluding evidence that he
conspired to murder any other person or on Sanchez grounds.
Therefore, his arguments are forfeited. (Boyette, supra,
29 Cal.4th at p. 424; Evid. Code, § 353, subd. (a).)
       However, even if the objections had been preserved, there
was no abuse of discretion. Under Sanchez, “If an expert testifies
to case-specific out-of-court statements to explain the bases for
his opinion, those statements are necessarily considered by the
jury for their truth, thus rendering them hearsay. Like any other
hearsay evidence, it must be properly admitted through an
applicable hearsay exception. Alternatively, the evidence can be
admitted through an appropriate witness and the expert may
assume its truth in a properly worded hypothetical question in
the traditional manner.” (Sanchez, supra, 63 Cal.4th at p. 684.)
       Here, the list was offered for the nonhearsay purpose to
show Vasquez’s state of mind. The relevance of the list was that
Vasquez possessed a list of names of members of a rival gang.
It was not offered for the purpose of its truth, i.e., that Vasquez



                                 29
had targeted the individuals for murder. Thus, because the list
was relevant to Vasquez’s state of mind, it did not constitute
hearsay. Moreover, the list was admitted into evidence and the
jury was able to evaluate it on its own. (See Sanchez, supra,63 Cal.4th at p. 684.)
       We are also not persuaded that the admission of the list
violated the trial court’s order generally excluding any evidence
that Vasquez conspired to kill any other person. When the trial
court first addressed whether evidence of other murder
conspiracies would be permitted, it had already ruled that the list
was admissible, and that it could be called a “hit list” after the
prosecution laid a proper foundation. Thus, it appears the trial
court’s more general order precluding any evidence Vasquez
conspired to murder others did not apply to the prosecutor’s
specific request to admit the list for a nonhearsay purpose to
show Vasquez’s state of mind.
II.    Prosecutorial misconduct
       Vasquez also argues his convictions should be reversed on
the grounds of numerous instances of prosecutorial misconduct.
Like Vasquez’s evidentiary challenges, his trial counsel did not
object on the grounds he now asserts on appeal. Therefore, his
arguments are mostly forfeited. To the extent his arguments are
preserved, we find them unpersuasive or the errors harmless.
       A.    The prosecutor eliciting testimony that
             Vasquez ordered Gonzales to kill X-Raided
       Vasquez argues the prosecutor committed misconduct by
eliciting testimony from Gonzales that Vasquez ordered him to
kill the inmate X-Raided. Vasquez asserts the prosecutor
intentionally asked Gonzales questions regarding the attack on
X-Raided despite the trial court’s order granting Vasquez’s



                                30
motion to exclude any evidence or testimony that Vasquez
conspired to murder any other person.
             1.    Additional background
      Vasquez filed a motion in limine containing multiple
requests to both preclude and introduce evidence. As previously
stated, Vasquez sought to exclude any “evidence or testimony”
that he “conspired to murder any other person.” The trial court
granted this request after the prosecutor stated there would be
no evidence offered under Evidence Code section 1101,
subdivision (b). Nevertheless, Vasquez sought to introduce
evidence that Gonzales “received a ‘kite’ from [Vasquez] who
ordered him to kill a rapper inmate named ‘X-Raided.’ ” The trial
court granted Vasquez’s motion to introduce this evidence.
      During Gonzales’s testimony, the prosecutor asked him, “In
the course of your work with the Northern Riders, one of the
plans you carried out was actually against a rapper . . . X-Raided;
is that correct?” Vasquez’s trial counsel objected to the question
as leading, which was sustained. The prosecutor asked, “Did you
carry out an attack against a rapper that went by the name of X-
Raided?” Again, Vasquez objected the question was leading,
which the trial court overruled. Gonzales answered that he did
carry out the attack at the direction of Vasquez. After the
prosecutor asked several more questions, Vasquez’s trial counsel
objected under Evidence Code 1101, subdivision (b). The trial
court held a sidebar conference and sustained the objection,
relying on the prosecutor’s representation that this evidence
would not be offered under Evidence Code section 1101,
subdivision (b). Although the trial court noted the testimony
would have been properly admitted under Evidence Code
section 1101, subdivision (b), it sustained the objection because



                                31
the prosecutor’s prior representation deprived Vasquez’s trial
counsel of adequate time to prepare. “Had you asked to do that,
I probably would have let you do it because it’s very on point.
But you agreed not to; so I didn’t have to make a ruling, and you
just have to abide by your position unless you want to change it.
If you don’t, that’s fine. I’ll just strike anything regarding the
stabbing of X-Raided.” The trial court then admonished the jury
“to disregard all the testimony regarding the attack of X-Raided
. . . . You are to strike that and disregard it for the purposes of
this trial.”
               2.    Standard of review and governing law
        “It is misconduct for a prosecutor to violate a court ruling
by eliciting or attempting to elicit inadmissible evidence in
violation of a court order.” (People v. Crew (2003) 31 Cal.4th 822,
839.) “Because we consider the effect of the prosecutor’s action on
the defendant, a determination of bad faith or wrongful intent by
the prosecutor is not required for a finding of prosecutorial
misconduct. [Citation.] A defendant’s conviction will not be
reversed for prosecutorial misconduct, however, unless it is
reasonably probable that a result more favorable to the defendant
would have been reached without the misconduct.” (Ibid.)
               3.    Analysis
        We find no misconduct here. Although the trial court
granted Vasquez’s motion in limine to exclude any evidence that
Vasquez conspired to murder any other person, it also granted
his motion to introduce evidence that Gonzales received a
message from Vasquez with an order to kill X-Raided. Under
these circumstances, it was reasonable for the prosecutor to
assume the more specific ruling, that allowed Gonzales’s
testimony that he received a note from Vasquez to attack X-



                                32
Raided, controlled over the more general ruling that excluded any
evidence or testimony that Vasquez conspired to murder any
other person. Moreover, the trial court promptly admonished the
jury and struck the testimony. “[W]e may presume that jurors
can follow such an admonition.” (People v. Miller (2009)
175 Cal.App.4th 1109, 1117.)
      Further, while bad faith is not required to find instances of
prosecutorial misconduct, a defendant must still show he suffered
prejudice. “Error with respect to prosecutorial misconduct is
evaluated under Chapman v. California (1967) 386 U.S. 18 . . . to
the extent federal constitutional rights are implicated and People
v. Watson (1956) 46 Cal.2d 818 . . . if only state law issues were
involved.” (People v. Fernandez (2013) 216 Cal.App.4th 540, 564.)
Under Chapman, prosecutorial misconduct that violates federal
law is not prejudicial if the misconduct was harmless beyond a
reasonable doubt. (People v. Katzenberger (2009) 178 Cal.App.4th
1260, 1268–1269.) Under Watson, prosecutorial misconduct that
violates state law is not prejudicial “ ‘unless it is reasonably
probable that a result more favorable to the defendant would
have been reached without the misconduct.’ ” (People v. Flores
(2020) 9 Cal.5th 371, 403.)
      Here, even under the more rigorous Chapman standard,
any misconduct was harmless beyond a reasonable doubt.
The testimony regarding X-Raided was brief and the trial court
immediately sustained Vasquez’s trial counsel’s objection,
admonished the jury, and struck the testimony. Further, the
evidence that Vasquez conspired to murder Diaz was
overwhelming given the numerous recorded phone calls, the text
message exchanges, the documents found in Vasquez’s cell, the




                                33
experts’ testimony, and the nature of the attack. Therefore, any
error was harmless.
       B.     The prosecution’s failure to accurately describe
              the attack on Gonzales
       Vasquez argues the prosecutor committed misconduct by
failing to fully and accurately describe the attack on Gonzales
during the discussions with the trial court regarding the
testimony’s admissibility. We disagree.
              1.     Additional background
       In its initial discussion with the prosecutor regarding the
admissibility of Gonzales’s anticipated testimony that he had
been attacked by the Riders, the prosecutor relayed to the trial
court that he expected Gonzales to testify that “he was a victim of
an attack—he was stabbed several times—and that at least one
of the attackers yelled out ‘Northern Riders’ afterwards.”
In relation to that testimony, Vasquez’s trial counsel sought to
exclude any evidence that Vasquez ordered the attack on
Gonzales. The trial court granted Vasquez’s request, and the
prosecutor agreed not to elicit any testimony from Gonzales that
Vasquez ordered the attack.
       Later, in discussing Gonzales’s anticipated testimony
regarding the attack, the prosecutor relayed to the trial court
that Gonzales told him during a recent interview that Vasquez
wanted Gonzales killed. The trial court revisited its prior ruling
and agreed with the prosecutor that Gonzales’s testimony was
relevant to his credibility in addition to how the gang worked.
In discussing the details of the attack, the prosecutor sought to
admit the nature of the attack, specifically, that Gonzales
“suffered several slash and stab wounds to his face and to his
eyes.” The trial court noted that it had previously ruled the



                                34
details of the attack would be excluded, but stated the prosecutor
could elicit testimony that when “they effectuate these attacks,
they can be extremely violent, and then he can say, ‘In my case,
I had these injuries,’ ” but not that “ ‘they wanted to kill me.’ ”
The trial court stated, “[Y]ou can ask him . . . when there’s a
power struggle like that, are there various levels . . . of discipline.
It can go from a very low level at a talking-to to murder. And in
his case, it was a power struggle not within but with the
president. So in his case, he can say, ‘I had cut and slashes and
cuts all over my face, around my eyes, and stab wounds.’ ”
       Gonzales testified he was stabbed 25 times all over his
body.
              3.   Analysis
       Vasquez’s trial counsel did not object or alert the trial court
to any material representations made by the prosecutor
regarding the nature of the attack on Gonzales. Failure to raise
the issue of prosecutorial misconduct at trial forfeits the right to
appellate review of that issue. (People v. Thomas (2011)
51 Cal.4th 449, 491–492; People v. Lopez (2008) 42 Cal.4th 960,
966). Therefore, the argument is forfeited.
       However, even if the argument had been preserved, we
would not find the prosecutor made any misrepresentation here.
We note it is unclear whether the prosecutor had the opportunity
to interview Gonzales before representing to the trial court that
Gonzales was stabbed several times. Rather, it appears the
investigators were relaying to the prosecutor what Gonzales had
told them. However, it is clear that, after the prosecutor had the
opportunity to speak to Gonzales directly, he made the trial court
and Vasquez’s trial counsel aware of the violent nature of the
attack. This is reflected in the additional discussions about the



                                  35
attack before Gonzales testified. During those discussions, the
trial court specified that Gonzales was permitted to testify that
he had “ ‘slashes and cuts all over [his] face, around [his] eyes,
and stab wounds,’ or whatever he had.” Further, in that same
discussion, the prosecutor described the attack in detail, and it is
apparent that Vasquez’s trial counsel was concerned about the
details of the violent nature of the attack. Given the state of the
record, we conclude the prosecutor did not misrepresent the
nature of the attack on Gonzales.
       C.    Whether the prosecutor argued facts not in
             evidence
       Vasquez argues the prosecution committed multiple acts of
misconduct by arguing facts not in evidence. These include the
prosecution’s statement that “nobody got charged out in
Corcoran,” that Diaz was stabbed in the “kill spot,” that Diaz was
attacked because he was recruiting members of the Riders, and
that Gonzales was attacked because he left the Riders. We
conclude the prosecutor’s arguments were fair comments on the
evidence and, to the extent the prosecutor argued facts not in
evidence, any error was harmless.
       A prosecutor has wide latitude in his closing argument, and
is allowed to make fair comments on the evidence, including
reasonable inferences or deductions. (People v. Jackson (2016)
1 Cal.5th 269, 349.) A prosecutor may “argue all reasonable
inferences from the record, and has a broad range within which
to argue the facts and the law.” (People v. Daggett (1990)
225 Cal.App.3d 751, 757.)




                                36
            1.      Whether other individuals were charged
                    in Corcoran
       In closing argument, Vasquez’s counsel challenged
Gonzales’s credibility by noting that Gonzales committed
numerous crimes while in prison and had never been prosecuted.
During rebuttal argument, the prosecutor argued: “There’s no
question that [Gonzales] . . . has gotten away with a lot of crime,
a lot of attacks. That’s not what you’re here for, though. You’re
here for Maurice Vasquez. What we’re asking you to do is to hold
Maurice Vasquez accountable. [¶] We have the evidence in this
case through good investigation. Even though the crime
happened out of Corcoran, even though nobody got charged out in
Corcoran, we have the evidence . . . and that’s why we’re asking
you to convict.”
       In reviewing the record, it appears the prosecutor’s
comments were purely geographical in describing Vasquez to the
jury as the only individual to be charged outside of Corcoran.
Indeed, the jury was well aware that Kons participated in the
attack while at Corcoran and had also been charged with the
conspiracy to murder Diaz. Indeed, during his testimony, Kons
stated he had been charged similarly in this case, was Vasquez’s
codefendant, and was awaiting trial. Further, in addressing
Kons’s testimony regarding the attack, the prosecutor argued to
the jury it did not have to decide what Kons did or did not do as
Kons would have “his own trial,” “his own evidence,” and “his
own jury.” Thus, the prosecutor’s comments were not likely to be
interpreted in an impermissible manner or that the jury should
hold Vasquez accountable because Diaz’s direct attackers had not
been charged.




                                37
            2.     Whether Diaz was attacked because he
                   was recruiting Riders to his splinter
                   faction
       During closing argument, the prosecutor argued Vasquez
was motivated to kill Diaz because he was recruiting Riders to
the Nuestra Cosas. The prosecutor stated: “I want to look at the
[timeline] for a second. Vasquez found[ed] the gang in 1999.
Diaz joins in the early 2000’s. He’s there for a while. After about
2015, he decides to break off. He forms the Nuestra Compas,
which becomes Nuestra Cosas, and he starts recruiting. That is
what got him his death sentence right there because Vasquez
hates leadership challenges.”
       Vasquez has forfeited his claim that the prosecutor argued
facts not in evidence as his trial counsel did not object or request
an admonition that would have cured any prejudice. (People v.
Bennett (2009) 45 Cal.4th 577, 616 (Bennett).)
       However, even if Vasquez’s argument was not forfeited, the
prosecutor’s argument was a fair comment on the evidence.
There was evidence that Diaz founded the Nuestra Cosas with
other Riders. There was also evidence that Diaz created a split
within the Riders, and that Vasquez was concerned over Diaz’s
influence over other Riders as shown by Vasquez’s statements in
the Epistle, where he describes Diaz as a “lawless little
homosexual snitch” who was convincing other Riders to “believe”
they were in the gang and “promoting false propaganda.”
The Epistle further states: “[T]here is no such thing as Team
Snoop, Team Scrappy. That’s some childish nonsense that little
faggot snitch Scrappy made up cause he thinks it sounds cute.
There is nothing cute nor funny about THE RIDER
MOVEMENT!”



                                 38
       Given the record, the prosecutor’s argument that Vasquez
wanted Diaz killed because he was recruiting Riders to the
Nuestra Cosas was a fair comment on the evidence.
               3.    Whether Diaz was stabbed in the
                     “kill spot”
       Vasquez asserts that the prosecutor relied on facts not in
evidence when he argued that Vasquez acted with an intent to
kill because Diaz was stabbed in the “kill spot.”
       During closing argument, when arguing Diaz’s attackers
acted with an intent to kill, the prosecutor stated: “[R]emember
what Terry Gonzale[s] told us about Vasquez’s training. You
have to look at vital parts around the head, under the arms, the
lungs. . . . [¶] This is the medical report that shows Mr. Diaz was
stabbed in the back of the neck just below the skull, just like
Terry Gonzale[s] explained to us; in the center of the spine; on
the right[ ] side of the back—it looks like kind of near the
shoulder blade—and on top of the left shoulder; puncture
wounds; active bleeding.” In arguing Vasquez was guilty of
attempted murder rather than assault, the prosecutor later
argued, “I put together some examples of how we know what
intent is. Sometimes people think we can’t know what’s in
someone’s mind unless they scream out ‘I’m going to kill you’ at
the moment they swing the knife. That’s not necessary. Intent
we typically infer from other things, from other evidence. Here,
they stabbed Diaz in the kill spot: Beneath the skull. Beneath
the skull, in the spine.”
       Vasquez has forfeited his claim that the prosecutor argued
facts not in evidence as his trial counsel did not object or request
an admonition that would have cured any prejudice. (Bennett,
supra, 45 Cal.4th at p. 616.)



                                 39
      However, even if Vasquez preserved the argument, the
prosecutor’s argument was a fair comment on the evidence.
Gonzales testified that he trained other Riders at Vasquez’s
direction to stab targeted inmates in the vital areas of the body,
including the jugular and carotid artery, i.e., the neck. Further,
the nurse who treated Diaz’s injuries testified that Diaz suffered
stab wounds to his spine and base of his skull. It was therefore a
reasonable inference that the location of Diaz’s wounds evidenced
an intent to kill, i.e., that Diaz was stabbed in an area of his body
that could have resulted in his death or the “kill spot.”
             4.      The prosecutor’s suggestion that Gonzales
                     was attacked because he left the gang
      Vasquez contends the prosecutor argued facts not in
evidence when he stated Gonzales was stabbed because he tried
to leave the Riders. We agree this statement was unsupported by
the record; however, we conclude any error was harmless.
      During closing argument, the prosecutor stated Gonzales
was attacked because he left the gang. This statement provided
support for the prosecutor’s argument that Vasquez acted with
the intent to kill in this case because Gonzales was subject to
similar violent retribution for going against the gang. The
prosecutor argued: “Also, think about [Gonzales]. He definitely
did not seem like a good person, but he seemed credible. It
seemed like he was actually answering questions and not trying
to avoid them from both the prosecution and the defense. This
guy was stabbed 25 times for trying to leave the gang. 25 times.
He was just trying to leave. That’s not even close to as bad as
what Diaz did. Diaz tried to break somebody off. Diaz tried to
recruit people away. [Gonzales] was just taking himself away,
and he got stabbed 25 times for that. He didn’t even form a



                                 40
faction. [¶] In one of those documents—I think it was the
handwritten Missive—there’s this example from KVSP where
some guy got tattoos of their little subgroups, and they were
given an order to take them off or they would be cut off. That’s
just a tattoo. Diaz is recruiting Northern Riders away from
Vasquez, the worst thing you can do. That’s why he gets the
worst order you can get.”
       In contrast, when Gonzales testified regarding the reasons
for the attack, he said that Vasquez told him the attack was
carried out because Gonzales was “disloyal in [his] failure to kill
Alexander Diaz, and that [he] was a snitch.” Thus, we agree with
Vasquez that the prosecutor argued facts not in evidence.
       Nevertheless, we find any error harmless. “When the issue
‘focuses on comments made by the prosecutor before the jury, the
question is whether there is a reasonable likelihood that the jury
construed or applied any of the complained-of remarks in an
objectionable fashion.’ ” (People v. Harrison (2005) 35 Cal.4th
208, 244.) “ ‘A defendant’s conviction will not be reversed for
prosecutorial misconduct . . . unless it is reasonably probable that
a result more favorable to the defendant would have been
reached without the misconduct.’ ” (Ibid.)
       Here, the record shows the prosecutor was using Gonzales’s
testimony regarding the attack to illustrate how the gang’s
system of progressive discipline worked, and to show that
Vasquez’s intent was to kill Diaz rather than merely assault him
due to the gravity of Diaz’s offense against the gang in forming a
splinter faction. However, rather than arguing Gonzales was
attacked because he was disloyal and because he was a snitch,
which was Gonzales’s testimony, the prosecutor argued Gonzales
was the victim of an attempted murder because he left the gang.



                                41
While the prosecutor incorrectly described the facts, the record
provided that Gonzales was violently attacked for being disloyal
to the gang and for cooperating with law enforcement—both of
which the jury could reasonably infer were violations serious
enough to warrant a comparable punishment to Diaz. Because
the evidence was sufficiently analogous and the jury was not
asked to consider the evidence for an improper purpose, it is not
reasonably probable a result more favorable to Vasquez would
have been reached had the prosecutor argued Gonzales was
attacked because he was disloyal and a snitch.
      D.     Whether the prosecutor urged the jury to
             consider evidence of the attack on Gonzales for
             an improper purpose
      Vasquez argues the prosecutor asked the jury to consider
evidence of Gonzales’s attack for an improper purpose.
Specifically, Vasquez asserts that the prosecutor urged the jury
to consider the attack as evidence of Vasquez’s character or his
propensity for violence in violation of Evidence Code section 1101,
subdivision (a).
      Vasquez did not object to this argument or request a
curative admonition. Therefore, the argument is forfeited.
(People v. Powell (2018) 6 Cal.5th 136, 171.)
      However, even if the argument was preserved, it lacks
merit. As explained by both the prosecutor and the trial court,
the evidence was admissible under Evidence Code section 1101,
subdivision (b). Evidence of the attack on Gonzales was relevant
to prove Vasquez’s intent. The prosecution’s theory was that
Vasquez targeted individual members of the gang for discipline,
and that more serious violations of the gang’s rules warranted
violent retribution, including murder. Gonzales’s testimony



                                42
regarding the attack was therefore highly relevant to show the
gang’s response to perceived transgressions of the gang’s rules.
Thus, the prosecutor argued to the jury that evidence of the
attack should be considered for a proper purpose to show
Vasquez’s motive and intent, not merely as propensity evidence
to prove Vasquez’s bad character. Accordingly, there was no
error.
       E.     Improper vouching
       Vasquez argues the prosecution engaged in misconduct by
improperly vouching for witnesses. However, Vasquez has not
cited to any specific examples of vouching. Therefore, his
argument fails.
       “Improper vouching occurs when the prosecutor either
(1) suggests that evidence not available to the jury supports the
argument, or (2) invokes his or her personal prestige or depth of
experience, or the prestige or reputation of the office, in support
of the argument.” (People v. Anderson (2018) 5 Cal.5th 372, 415.)
“ ‘A prosecutor is prohibited from vouching for the credibility of
witnesses or otherwise bolstering the veracity of their testimony
by referring to evidence outside the record.’ [Citation.] ‘However,
so long as a prosecutor’s assurances regarding the apparent
honesty or reliability of prosecution witnesses are based on the
“facts of [the] record and the inferences reasonably drawn
therefrom, rather than any purported personal knowledge or
belief,” [his] comments cannot be characterized as improper
vouching.’ ” (People v. Romero and Self (2015) 62 Cal.4th 1, 39.)
       Here, Vasquez has not directed us to any specific examples
of vouching; therefore, he has failed to carry his burden on appeal
to show error. To the extent Vasquez’s brief contains citations to
the record, it directs us to the trial court’s timely admonishment



                                43
of the jury, during which the trial court interrupts the
prosecutor’s closing argument and instructs the jury that the
attorneys could not vouch for witnesses, and instructed the jurors
to make their own determinations based on the evidence. To the
extent there was improper vouching, the error was harmless as
evidence of Vasquez’s guilt was strong. This included the
numerous recordings, text messages, documentary evidence
related to the Riders, and the experts’ testimony.
III. Ineffective assistance of counsel
       Vasquez argued he received ineffective assistance of
counsel based on his counsel’s failure to object to the various
claims he argues on appeal.
       “Generally, to prevail on a claim of ineffective assistance of
counsel, a defendant must show both that his counsel’s
performance fell below an objective standard of reasonableness
and there is a reasonable probability of a more favorable outcome
in the absence of the deficient performance. [Citation.] We
always start with a presumption that counsel’s conduct falls
within the wide range of reasonable professional assistance.”
(People v. Ruiz (2023) 89 Cal.App.5th 324, 329, citing Strickland
v. Washington (1984) 466 U.S. 668, 688.) “If the record on appeal
fails to show why counsel acted or failed to act in the instance
asserted to be ineffective, unless counsel was asked for an
explanation and failed to provide one, or unless there simply
could be no satisfactory explanation, the claim must be rejected
on appeal.” (People v. Kraft (2000) 23 Cal.4th 978, 1068–1069.)
       As discussed at length above, Vasquez’s claims of
evidentiary error and prosecutorial misconduct were not
persuasive. Therefore, Vasquez has not demonstrated deficient
performance, and his claims of error lack merit. Moreover,



                                 44
Vasquez’s counsel could have had valid tactical reasons for not
objecting on the grounds Vasquez now argues on appeal, most
likely, because he believed the objections would have been
overruled. Accordingly, we reject Vasquez’s ineffective assistance
claim.
IV. Cumulative Error
       Vasquez argues cumulative error undermined the
fundamental fairness of his trial and requires reversal of his
conviction. As explained above, to the extent there were any
errors, they were harmless.
V.     AB 333
       The parties agree that the jury’s true finding on the gang
enhancement must be remanded as the predicate offenses no
longer satisfy the amended requirements under AB 333.
       To prove a section 186.22 enhancement, the prosecution
must show: (1) the underlying felony must be committed for the
benefit of, at the direction of, or in association with any criminal
street gang; and (2) the felony must be committed with the
specific intent to promote, further, or assist in criminal conduct
by gang members. (§ 186.22, subd. (b)(1); People v. Perez (2017)
18 Cal.App.5th 598, 606–607.)
       Effective January 1, 2022, AB 333 amended the elements
for establishing the existence of a “criminal street gang” and
“a pattern of criminal gang activity.” (Stats. 2021, ch. 699.)
It modified the definition of “criminal street gang” to “an ongoing,
organized association or group of three or more persons, whether
formal or informal,” whose members “collectively engage in, or
have engaged in, a pattern of criminal gang activity.” (§ 186.22,
subd. (f), as amended by Stats. 2021, ch. 699, § 3.) Under AB 333,
a “pattern of criminal gang activity” means “the commission of,



                                45
attempted commission of, conspiracy to commit, or solicitation of,
sustained juvenile petition for, or conviction of, two or more of the
following offenses, provided at least one of these offenses occurred
after the effective date of this chapter, and the last of those
offenses occurred within three years of the prior offense and
within three years of the date the current offense is alleged to
have been committed, the offenses were committed on separate
occasions or by two or more members, the offenses commonly
benefited a criminal street gang, and the common benefit from
the offenses is more than reputational.” (§ 186.22, subd. (e)(1).)
       Vasquez’s judgment was not final when AB 333 went into
effect on January 1, 2022; therefore, its amendments apply to
this case. (People v. Perez (2022) 78 Cal.App.5th 192, 206.)
       Here, both sides agree there was no evidence that the
predicate offenses used to establish a pattern of criminal activity
were committed for a nonreputational benefit to the Riders.
Therefore, the predicate offenses do not meet the requirement
that common benefit to the gang was more than reputational
under section 186.22, subdivision. (e)(1). Accordingly, the gang
enhancement must be vacated. The prosecution may elect to
retry the gang enhancement allegations on remand. “When a
statutory amendment adds an additional element to an offense,
the prosecution must be afforded the opportunity to establish the
additional element upon remand.” (People v. Eagle (2016)
246 Cal.App.4th 275, 280.)




                                 46
                           DISPOSITION
      The judgment is affirmed in part and reversed in part.
The gang enhancement is reversed and the matter is remanded
to the trial court to afford the prosecution an opportunity to retry
the gang allegations.



                                           VIRAMONTES, J.



      WE CONCUR:



                         STRATTON, P. J.




                         WILEY, J.




                                 47
